     Case 2:18-cv-00257-TOR            ECF No. 100        filed 08/21/19     PageID.4650 Page 1 of 3



      Nicholas D. Thompson, Va. #: 92821
 1    (admitted Pro Hac Vice)
      THE MOODY LAW FIRM, INC.
 2
      500 Crawford Street, Suite 200
 3    Portsmouth, VA 23704
      (757) 393-4093
 4    nthompson@moodyrrlaw.com
 5    and
 6
      Joseph A. Grube, WSBA #26476
 7    BRENEMAN GRUBE OREHOSKI, PLLC
      1200 Fifth Avenue, Suite 625
 8    Seattle, WA 98101
      (206) 770-7606
 9    joe@bgotrial.com
10    Attorneys for Plaintiff

11
                                  UNITED STATES DISTRICT COURT
12                               EASTERN DISTRICT OF WASHINGTON

13     LAWRENCE DARREN MOLDER,
14                                                                NO. 2:18-CV-00257
                                                 Plaintiff,
15                                                                Motion to Withdraw Plaintiff’s De
       v.
                                                                  Bene Esse Deposition of Dr. Bret
16                                                                Dirks and Motion to Expedite
       BNSF RAILWAY CO.,
17
                                              Defendant.
18

19

20
              PLEASE TAKE NOTICE that Plaintiff respectfully withdraws the Motion to take
21
      Doctor Bret Dirks’ De Bene Esse Deposition [ECF. 87] as well as the Plaintiff’s Motion to
22
      Expedite [ECF. 88] that were both filed on August 19, 2019. Both parties have met and
23

24    conferred and have resolved the issue. Opposing Counsel does not object to this Motion.

25            Plaintiff respectfully request this Court take the hearing in regard to the Motion to
26    Expedite currently set for August 26, 2019, at 10:00 a.m. off its calendar.

      Motion to Withdraw Plaintiff’s De Bene Esse Deposition of       THE MOODY LAW FIRM, INC.
      Dr. Bret Dirks and Motion to Expedite                                500 Crawford Street, Suite 200
                                                                              Portsmouth, VA 23704
      Page 1 of 2                                                           Telephone: (757) 393-4093
                                                                             Facsimile: (757) 393-7257
     Case 2:18-cv-00257-TOR            ECF No. 100        filed 08/21/19     PageID.4651 Page 2 of 3




 1                                                       THE MOODY LAW FIRM
      DATED: August 21, 2019
 2
                                                         /s/ Nicholas D. Thompson
 3                                                       Nicholas D. Thompson (admitted pro hac)
                                                         500 Crawford Street, Suite 200
 4                                                       Portsmouth, VA 23704
                                                         (757) 393-4093 – Telephone
 5                                                       (757) 397-7257 - Facsimile
                                                         nthompson@moodyrrlaw.com
 6

 7                                                       Joseph A. Grube, WSBA #26476
                                                         BRENEMAN GRUBE OREHOSKI, PLLC
 8                                                       1200 Fifth Avenue, Suite 625
                                                         Seattle, WA 98101
 9                                                       (206) 770-7606
                                                         joe@bgotrial.com
10
                                                         Counsel for Plaintiff
11
                                               Certificate of Service
12
              The undersigned hereby certifies that he sent a true and correct copy of the above and
13
      foregoing document was served via email on August 21, 2019 to the following:
14

15
              MICHAEL CHAIT
16
              HALEY VENTOZA
17
                                                         /s/ Nicholas D. Thompson
18

19

20

21

22

23

24

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26

      Motion to Withdraw Plaintiff’s De Bene Esse Deposition of         THE MOODY LAW FIRM, INC.
      Dr. Bret Dirks and Motion to Expedite                                500 Crawford Street, Suite 200
                                                                              Portsmouth, VA 23704
      Page 1 of 2                                                           Telephone: (757) 393-4093
                                                                             Facsimile: (757) 393-7257
     Case 2:18-cv-00257-TOR            ECF No. 100        filed 08/21/19     PageID.4652 Page 3 of 3




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 4

 5

 6

 7

 8
                                        CERTIFICATE OF SERVICE
 9
            I am over the age of 18 and not a party to this action. I am the paralegal to an attorney
10    with The Moody Law Firm, Inc., whose address is 500 Crawford Street, Suite 200,
      Portsmouth, VA 23704.
11

12           I hereby certify that a true and complete copy of PLAINTIFF’S RESPONSE IN
      OPPOSITION TO DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
13    PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(C) has been filed with the
14    United State District Court via ECF system, which gives automatic notification to the
      following interested parties:
15

16    Michael E. Chait
      Montgomery Scarp & Chait PLLC
17    1218 3rd Avenue
      Suite 2500
18    Seattle, WA 98101
19    mike@montgomeryscarp.com

20    Attorney for Defendant

21           I declare under penalty under the laws of the United States of America that the
      foregoing information is true and correct.
22

23            DATED this 10th day of January, 2019, at Portsmouth, Virginia.

24                                                                /s/ Christina Dorazio
                                                                  Christina Dorazio, Paralegal
25

26

      Motion to Withdraw Plaintiff’s De Bene Esse Deposition of         THE MOODY LAW FIRM, INC.
      Dr. Bret Dirks and Motion to Expedite                                500 Crawford Street, Suite 200
                                                                              Portsmouth, VA 23704
      Page 1 of 2                                                           Telephone: (757) 393-4093
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